         Case 1:23-cv-00102-LMG Document 25               Filed 09/15/23     Page 1 of 3

Court No. 23-00102                                                                         FORM 8A-1


           IN THE UNITED STATES COURT OF INTERNATIONAL TRADE



  ASSOCIATION OF AMERICAN SCHOOL
  PAPER SUPPLIERS,
                                                         Before: Leo M. Gordon,
                              Plaintiff,                         Judge

                        v.                               Court No. 23-00102
  UNITED STATES,
                              Defendant.


                               STIPULATION OF DISMISSAL

       PLEASE TAKE NOTICE that plaintiff, pursuant to Rule 41(a)(1)(A)(ii) of the Rules of

the United States Court of International Trade, having filed a stipulation of dismissal signed by all

parties who have appeared in this action, hereby dismisses this action.


Dated: September 15, 2023


                                                    /s/ Timothy C. Brightbill
                                                    Timothy C. Brightbill, Esq.
                                                    Maureen E. Thorson, Esq.
                                                    Paul A. Devamithran, Esq.

                                                    WILEY REIN LLP
                                                    2050 M Street, NW
                                                    Washington, DC 20036
                                                    (202) 719-7000

                                                    Counsel for the Association of American
                                                    School Paper Suppliers
        Case 1:23-cv-00102-LMG Document 25   Filed 09/15/23      Page 2 of 3

Court No. 23-00102                                                         FORM 8A-2




                                       BRIAN M. BOYNTON
                                       Principal Deputy Assistant Attorney General

                                       PATRICIA M. McCARTHY
                                       Director

                                       /s/ Franklin E. White, Jr.
                                       FRANKLIN E. WHITE, JR.
                                       Assistant Director


                                       /s/ Anne M. Delmare
OF COUNSEL:                            ANNE M. DELMARE
ALEXANDER FRIED                        Trial Attorney
Attorney                               U.S. Dept. of Justice
Office of the Chief Counsel            Civil Division
For Trade Enforcement & Compliance     Commercial Litigation Branch
U.S. Department of Commerce            P.O. Box 480
Washington, D.C.                       Ben Franklin Station
                                       Washington, D.C. 20044
                                       Telephone: (202) 305-0531
                                       E-mail: anne.m.delmare@usdoj.gov

                                       Attorneys for Defendant
         Case 1:23-cv-00102-LMG Document 25                   Filed 09/15/23      Page 3 of 3

Court No. 23-00102                                                                          FORM 8A-3


                                          Order of Dismissal

        This action, having been voluntarily stipulated for dismissal by all parties having appeared
in the action, is dismissed.


Dated: September 15, 2023

                                                Clerk, U.S. Court of International Trade



                                                By:             /s/ Jason Chien
                                                                    Deputy Clerk


(As amended Dec. 18, 2001, eff. Apr.1, 2002; Aug. 2, 2010, eff. Sept. 1, 2010.)
